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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                               Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,                                      ORDER REGARDING SEALING
STATE OF MARYLAND,                                      EVIDENTIARY HEARING EXHIBITS
STATE OF NEVADA,
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.

        Upon consideration of the Parties' Submitted Positions Regarding Sealing Evidentiary

Hearing Exhibits,

        IT IS HEREBY ORDERED THAT

               i. Parties and non-parties will address confidentiality in a narrowly tailored way to
                  ensure public access to the hearing. Where necessary and consistent with applicable
                  case law and the Court’s standards on the treatment of confidential material, parties
                  and non-parties may address confidentiality by showing the public redacted
                  documents, showing documents to witnesses but not the public, and structuring
                  testimony to avoid eliciting confidential information.

              ii. No later than 48 hours after entry of this Order, each side shall notify any nonparties
                  whose information, previously designated as Confidential or Highly Confidential,
                  is included on that side’s potential examination list.

              iii. On or before August 20, parties and nonparties must file motions with the Court
                   seeking to seal, in whole or in part, any exhibits included on the parties’ potential
                   examination lists consistent with standards set forth in the Court’s April 29, 2024

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             Stipulated Protective Order (ECF No. 97). Parties and nonparties shall use best
             efforts to limit confidentiality designations to maximize public access to the Court’s
             proceedings.

        iv. The Court may address any challenged confidentiality designations during the
            August 23 pre-hearing conference and provide the parties and nonparties any
            specific guidance for how to assess further issues relating to confidentiality.

         v. To the extent either party identifies additional exhibits to be used during direct
            examinations, not previously disclosed on the potential examination lists, the
            parties must disclose those exhibits to the other side and to any impacted nonparties
            no later than 48 hours before the anticipated direct examination. The parties may
            disclose no more than 10 additional exhibits per witness according to this protocol.

        vi. After these disclosures have been made, any party or nonparty continuing to seek
            sealed treatment of these identified exhibits must file a motion prior to the witness
            being called.

        vii. The parties agree to meet and confer regarding confidentiality before filing motions
             to seal and will indicate whether the motion is opposed in the motion.

       viii. For any exhibits with confidentiality designations not previously resolved under the
             procedure for use in the courtroom, to the extent those exhibits are cited in the
             parties’ post-hearing findings of fact and conclusions of law, the parties shall
             provide notice to any designating party or nonparty within three calendar days of
             filing. The designating party or nonparty must then file a motion to seal within 8
             days of the parties’ notice.


      SO ORDERED.

                                              _____________________________________
                                              UNITED STATES DISTRICT JUDGE


DATED: August 15, 2024




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